      Case: 1:21-cv-02671 Document #: 21 Filed: 09/03/21 Page 1 of 2 PageID #:70


                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF ILLINOIS
                                     EASTERN DIVISION

DAMIEN STEWART,                                    )
                                                   )
                         Plaintiff,                )
                                                   )
                 v.                                )        No.     2021 CV 2671
                                                   )
CITY OF CHICAGO, and CHICAGO                       )
POLICE OFFICERS DELGADO                            )        Judge Andrea R. Wood
FERNANDEZ, #12335, and JERALD                      )
WILLIAMS, #3317,                                   )
                                                   )
                                                   )
                         Defendants.               )

                                       STIPULATION TO DISMISS

        IT IS HEREBY STIPULATED AND AGREED by and between the parties hereto, by their

respective attorneys of record, that this matter has been settled by the parties and, therefore, all claims

related to this cause should be dismissed without prejudice, to be automatically converted to dismissal

with prejudice 75 days from the entry of the Court’s order, unless a party has moved to extend this date

prior to the expiration of the 75 days. Each side shall bear its own costs and attorneys’ fees.
    Case: 1:21-cv-02671 Document #: 21 Filed: 09/03/21 Page 2 of 2 PageID #:71


                                         Respectfully submitted,
/s/Jeanette Samuels____
Jeanette Samuels                         CITY OF CHICAGO
Attorney for Plaintiff, Damien Stewart   a Municipal Corporation
Samuels & Associates, Ltd
3440 S. Cottage Grove Ave, Ste. 504      CELIA MEZA
Chicago, IL 60612                        Corporation Counsel
                                         Attorney for City of Chicago
(872) 588-8726
Attorney No. ___________________         BY:/s/Victoria R. Benson_________
DATE:_09/03/2021______________           Victoria R. Benson
                                         Deputy Corporation Counsel
                                         2 North LaSalle Street, Suite 420
                                         Chicago, Illinois 60602
                                         (312) 744-4883
                                         Attorney No. 6282508
                                         DATE: _09/03/2021___________


                                         /s/Patrick H. O’Connor_______________
                                         Patrick H. O’Connor
                                         Special Assistant Corporation Counsel
                                         Attorney for Defendants, Enrique Delgado Fernandez,
                                         and Jerald Williams
                                         Hartigan & O’Connor, P.C.
                                         53 W. Jackson Blvd, Ste. 460
                                         Chicago, Illinois 60604
                                         (312) 235-8880
                                         Attorney No. 6207351
                                         DATE: 09/03/2021_______________
